                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 JANE DOE and RUTH ZERON, on behalf
 of themselves and all similarly situated                 No. 3:21-cv-395
 employees and a class of employees,
                                                          District Judge Trauger
         Plaintiffs,
                                                          Magistrate Judge Newbern
 v.
                                                          JURY DEMAND
 FEDEX GROUND PACKAGE
 SYSTEM, INC. and ALLIED FACILITY                         CLASS ACTION
 CARE, LLC,
                                                          COLLECTIVE ACTION
          Defendants.


      STIPULATION OF DISMISSAL WITH PREJUDICE OF PLAINTIFFS’ CLAIMS
                   AGAINST ALLIED FACILITY CARE, LLC

        Under Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Named Plaintiffs Jane

Doe and Ruth Zeron and Opt-in Plaintiffs Marcelina Miranda Gonzalez, Gregoria Lopez, and

Amanda Ortega-Campoy (collectively, “Plaintiffs”) and Defendants Allied Facility Care, LLC

(“Allied”) and FedEx Ground Package System, Inc. jointly stipulate to the dismissal with

prejudice of all claims and causes of action asserted by Plaintiffs against Allied in this lawsuit.

Each party shall bear its own costs as to those claims.

        Dated: February 18, 2022                  Respectfully submitted,

                                                  /s/ N. Chase Teeples
                                                  Charles P. Yezbak, III (TN BPR # 018965)
                                                  N. Chase Teeples
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      Case 3:21-cv-00395 Document 85 Filed 02/18/22 Page 1 of 2 PageID #: 526
                               CERTIFICATE OF SERVICE

       I certify that on February 18, 2022, I filed a true and correct copy of this document,

Stipulation of Dismissal with Prejudice, via the Court’s CM/ECF system, which sent notice to the

following counsel of record:

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                                               /s/ N. Chase Teeples




                                               2
    Case 3:21-cv-00395 Document 85 Filed 02/18/22 Page 2 of 2 PageID #: 527
